                                     No. 25-8003

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

    PRESIDENT DONALD J. TRUMP, an individual, REPRESENTATIVE
   MARIANNETTE MILLER-MEEKS, an individual, and FORMER STATE
               SENATOR BRADLEY ZAUN, an individual,
                           Plaintiffs-Appellants,
                                      v.
    J. ANN SELZER, an individual, SELZER & COMPANY, DES MOINES
    REGISTER AND TRIBUNE COMPANY, and GANNETT CO., INC.,
                          Defendants-Appellees.


                   Appeal from the United States District Court
            for the Southern District of Iowa, Case No. 4:24-cv-00449,
               The Hon. Rebecca Goodgame Ebinger, District Judge


      DISMISSAL OF PETITION FOR PERMISSION TO APPEAL BY
    PRESIDENT DONALD J. TRUMP, an individual, REPRESENTATIVE
   MARIANNETTE MILLER-MEEKS, an individual, and FORMER STATE
              SENATOR BRADLEY ZAUN, an individual



   Plaintiffs President Donald J. Trump, Representative Mariannette Miller-Meeks,
and Former State Senator Bradley Zaun dismiss their petition for permission to ap-

peal filed in this Court on June 2, 2025.




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Dated: June 30, 2025           Respectfully submitted,

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                         CERTIFICATE OF SERVICE


   I hereby certify that on June 30, 2025, I electronically filed this document with

the Clerk of the Court for the United States Court of Appeals for the Eighth Circuit

by using the CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.


Dated: June 30, 2025             /s/ Alan R. Ostergren
                                 Alan R. Ostergren




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